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11
                        UNITED STATES DISTRICT COURT
12                     CENTRAL DISTRICT OF CALIFORNIA
13
14                                            )   Case No. 8:20-cv-02119
15                                            )
     JENNIE BROWN, individually and on )          CLASS ACTION
16   behalf of all others similarly situated, )
17                                            )   COMPLAINT FOR VIOLATIONS
     Plaintiff,                               )   OF:
18
                                              )
19          vs.                               )      1.   VIOLATIONS OF
                                                          ELECTRONIC FUNDS
20
                                              )           TRANSFER ACT [15 U.S.C.
     U GYM, LLC d/b/a UFC GYM,                )           §1693 ET SEQ.]
21   CLUBREADY, LLC, and DOES 1-10, )                2.   VIOLATION OF THE
                                                          CONSUMER LEGAL
22   inclusive,                               )           REMEDIES ACT [CAL.
                                              )           CIV. C. §1750 ET SEQ.]
23   Defendant(s).                            )      3.   VIOLATIONS OF
                                                          CALIFORNIA BUSINESS
24                                            )           AND PROFESSIONS CODE
                                              )           § 17200, ET. SEQ
25
                                              )
26                                            )   DEMAND FOR JURY TRIAL
27                                            )
                                              )
28                                            )


                                  CLASS ACTION COMPLAINT
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 1         Plaintiff JENNIE BROWN (“Plaintiff”), on behalf of herself and all others
 2   similarly situated, alleges the following against Defendants U GYM, LLC d/b/a
 3   UFC GYM (“UFC GYM”) and CLUBREADY, LLC (“CR,” and with UFC GYM,
 4   “Defendants”), upon information and belief based upon personal knowledge:
 5                                  INTRODUCTION
 6         1.     Plaintiff’s Class Action Complaint is brought pursuant to the
 7   Electronic Funds Transfer Act, 15 U.S.C. 1693 et seq. (“EFTA”), the California
 8   Consumer Legal Remedies Act, Cal. Civ. C. § 1750 et. seq. (“CLRA”), and Unfair
 9   Competition Law, Cal. Bus. & Prof. Code § 17200, et seq. (“UCL”).
10
           2.     Plaintiff, individually, and on behalf of all others similarly situated,
11
     brings this Complaint for damages, injunctive relief, and any other available legal
12
     or equitable remedies, resulting from the illegal actions of Defendants by debiting
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     Plaintiff’s and also the putative Class members’ bank accounts on a recurring basis
14
     without obtaining a written authorization signed or similarly authenticated for
15
     preauthorized electronic fund transfers from Plaintiff’s and also the putative Class
16
     members’ accounts, thereby violating Section 907(a) of the EFTA, 15 U.S.C. §
17
18
     1693e(a), and Section 205.10(b) of Regulation E, 12 C.F.R. § 205.l0(b).

19   Additionally, Defendants charged Plaintiff and the Class for services that it failed

20   to provide contrary to its written contract after Defendant UFC closed its gyms due
21   to the COVID-19 crisis. Plaintiff alleges as follows upon personal knowledge as
22   to herself and her own acts and experiences, and, as to all other matters, upon
23   information and belief, including investigation conducted by his attorneys.
24                           JURISDICTION AND VENUE
25         3.     This Court has jurisdiction under 28 U.S.C. 1331, because this action
26   is brought pursuant to the EFTA, 15 U.S.C. 1693 et. seq.
27         4.     Jurisdiction of this Court arises pursuant to 15 U.S.C. 1693(m), which
28   states that, “without regard to the amount in controversy, any action under this


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 1   section may be brought in any United States district court.”
 2         5.      Venue and personal jurisdiction in this District are proper pursuant to
 3   28 U.S.C. 1391(b) because Plaintiff resides within this District and Defendant does
 4   or transact business within this District, and a material portion of the events at issue
 5   occurred in this District.
 6
                                          PARTIES
 7
           6.      Plaintiff, Jennie Brown (“Plaintiff”), is a natural person residing in
 8
     Orange County in the state of California, and is a “consumer” as defined by 15
 9
     U.S.C. §1693a (6) and a “person” as defined by Cal. Bus. & Prof. Code § 17201.
10
           7.      At all relevant times herein, Defendant U GYM, LLC d/b/a UFC
11
     GYM, is a Nevada corporation that franchises the UFC Gym and system and
12
     oversee its franchisees, including the UFC Gym located in the County of Orange,
13
14
     California.

15         8.      At all relevant times herein, Defendant CLUBREADY, LLC is a

16   Delaware corporation with its headquarters in Missouri.                     Defendant
17   CLUBREADY, LLC targeted and availed itself of California by electronically
18   withdrawing funds and entering into agreements with consumers in California,
19   such as Plaintiff.
20         9.      The above-named Defendants, and their subsidiaries and agents, are
21   collectively referred to as “Defendants.” The true names and capacities of the
22   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
23   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
24   names. Each of the Defendants designated herein as a DOE is legally responsible
25
     for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend
26
     the Complaint to reflect the true names and capacities of the DOE Defendants
27
     when such identities become known.
28



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 1         10.     Plaintiff is informed and believes that at all relevant times, each and
 2   every Defendant was acting as an agent and/or employee of each of the other
 3   Defendants and was acting within the course and scope of said agency and/or
 4   employment with the full knowledge and consent of each of the other Defendants.
 5   Plaintiff is informed and believes that each of the acts and/or omissions
 6
     complained of herein was made known to, and ratified by, each of the other
 7
     Defendants.
 8
                           FACTUAL ALLEGATIONS - EFTA
 9
           11.     Plaintiff entered into a twelve-month agreement with Defendant
10
     UFC’s franchisee for a gym membership at its 24320 Swartz, Lake Forest, CA
11
     92630 location on June 11, 2019.
12
           12.     The agreement provided for automatic withdrawals of approximately
13
14
     $79 up until May 11, 2020.

15         13.     On or about March 2020, Defendant UFC closed its gyms in light of

16   the COVID-19 crisis—and those gyms have remained closed ever since.
17         14.     Pursuant to sections 7.2(d) and (e) of the agreement Plaintiff signed
18   with Defendant UFC and its franchisee, Plaintiff and the Class are entitled to a pro
19   rata refund if Defendant UFC either closes its gym or eliminates or substantially
20   reduces the scope of its facilities.
21         15.     In this instance, Defendant UFC has closed its gyms and has
22   eliminated or substantially reduced all the services and scope of its facilities in
23   light of the closure due to COVID-19.
24         16.     On or about April 2020, Plaintiff sent Defendant UFC a letter
25
     canceling her agreement and requesting Defendant UFC cease its auto-
26
     withdrawals which was acknowledged as received on April 30, 2020.
27
           17.     Despite this, on May 12, 2020, Defendant UFC and CR made their
28
     automatic withdrawal from Plaintiff’s bank account for $79.

                                    CLASS ACTION COMPLAINT
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 1         18.    Defendants made such withdrawals without obtaining authorization
 2   from Plaintiff to resume auto withdrawal.
 3         19.    Plaintiff never provided Defendants with any authorization or
 4   affirmative consent to deduct these sums of money from Plaintiff’s banking
 5   account following her cancellation on April 30, 2020.
 6
           20.    Further, Defendants did not provide to Plaintiff, nor did Plaintiff
 7
     execute, any written or electronic writing memorializing or authorizing these
 8
     automatic payments.
 9
           21.    Further, Defendants’ written contract conditions the extension of
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     credit in the form the agreement on Plaintiff or any consumer agreeing to
11
     repayment by means of preauthorized electronic fund transfers as described in,
12
     among others, sections 6.2 and 6.3(a) of the contract. Such conditioning violates
13
14
     15 U.S.C. 1693(k).

15         22.    Plaintiff alleges such activity to be in violation of the Electronic

16   Funds Transfer Act, 15 U.S.C. 1693 et seq. (“EFTA”), and its surrounding
17   regulations, including, but not limited to, 12 C.F.R. §§1005.7, 1005.8, and 1005.9.
18         23.    Further, Defendants failed to honor the provision of its written
19   contract regarding the right to cancel and be issued a pro-rata refund in light of
20   Defendant UFC’s closure of its gyms.
21         24.    Such sales tactics employed on Defendants rely on falsities and have
22   a tendency to mislead and deceive a reasonable consumer.
23         25.    Plaintiff is informed, believes, and thereupon alleges that such
24   representations were part of a common scheme to mislead consumers and
25
     incentivize them to contract with Defendants with the belief that they would
26
     receive a pro rata refund if Defendants’ services ceased.
27
           26.    Plaintiff reasonably believed and relied upon Defendants’
28
     representations in its contract.

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 1         27.    Defendants benefited from falsely representing their obligations and
 2   intend to honor the terms of the contract regarding cancellations and refunds.
 3   Defendants benefited on the loss to Plaintiff and provided nothing of benefit to
 4   Plaintiff in exchange.
 5                            CLASS ACTION ALLEGATIONS
 6
           28.    Plaintiff brings this action on behalf of herself and all others similarly
 7
     situated, as a member of two proposed classes (jointly “The Classes”). The first
 8
     Class (hereafter “The EFTA Class”) defined as follows:
 9                All persons in the United States whose bank accounts
10                were debited on a reoccurring basis by Defendants
                  without obtaining a written authorization signed or
11
                  similarly authenticated for preauthorized electronic fund
12                transfers or whose agreements conditioned the extension
13                of credit on an agreement to repay by preauthorized fund
                  transfers within the one year prior to the filing of this
14                Complaint.
15
16         29.    The second Class (hereafter “the CLRA Class”) is defined as follows:
                  All persons in California who Defendants charged for
17
                  gym services after the closure of their gyms and failed to
18                refund pro rata amounts within the three years prior to
19                the filing of this Complaint.

20
           30.    Plaintiff represents, and is a member of The EFTA Class, consisting

21   of all persons within the United States whose bank account was debited on a
22   recurring basis by Defendants without Defendants obtaining a written
23   authorization signed or similarly authenticated for preauthorized electronic fund
24   transfers or whose agreements conditioned the extension of credit on an agreement
25   to repay by preauthorized fund transfers within the one year prior to the filing of
26   this Complaint.
27         31.    Plaintiff represents, and is a member of The CLRA Class, consisting
28   of all persons in California who Defendants charged for gym services after the


                                   CLASS ACTION COMPLAINT
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 1   closure of their gyms and failed to refund pro rata amounts within the three years
 2   prior to the filing of this Complaint.
 3         32.     Defendants, their employees and agents are excluded from The
 4   Classes. Plaintiff does not know the number of members in The Classes, but
 5   believe the Classes members number in the thousands, if not more. Thus, this
 6
     matter should be certified as a Class Action to assist in the expeditious litigation of
 7
     the matter.
 8
           33.     The Classes are so numerous that the individual joinder of all of their
 9
     members is impractical. While the exact number and identities of The Classes
10
     members are unknown to Plaintiff at this time and can only be ascertained through
11
     appropriate discovery, Plaintiff is informed and believes and thereon alleges that
12
     The Classes includes thousands of members. Plaintiff alleges that The Classes
13
14
     members may be ascertained by the records maintained by Defendant.

15         34.     There are questions of law and fact common to the EFTA Class

16   affecting the parties to be represented. The questions of law and fact to the EFTA
17   Class predominate over questions which may affect individual EFTA Class
18   members and include, but are not necessarily limited to, the following:
19                     a. The members of the EFTA Class were not provided with, nor
20                         did they execute, written agreements memorializing the
21                         automatic or recurring electronic payments.
22                     b. Defendants did not request, nor did it provide, EFTA Class
23                         members with written agreements memorializing the
24                         automatic or recurring electronic withdrawals.
25
                       c. The members of the Class did not provide either a written
26
                           (“wet”) or otherwise electronic signature authorizing the
27
                           automatic or recurring electronic payments.
28
                       d. Despite not providing written or electronic authorization for

                                   CLASS ACTION COMPLAINT
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 1                        payments to be drawn from their accounts, Defendants took
 2                        unauthorized payments from EFTA Class members’
 3                        accounts.
 4         35.    There are questions of law and fact common to the CLRA Class
 5   affecting the parties to be represented. The questions of law and fact to the CLRA
 6
     Class predominate over questions which may affect individual CLRA Class
 7
     members and include, but are not necessarily limited to, the following:
 8
                  a. Whether Defendants charged the CLRA Class Members and
 9
                      refused to issue a pro-rata refund after closing their gyms;
10
           36.    As someone who Defendants charged for gym services after the
11
     closure of their gyms and failed to refund pro rata amounts within the three years
12
     prior to the filing of this Complaint and who had an automatic withdrawal taken
13
14
     from her bank account without authorization, Plaintiff is asserting claims that are

15   typical of The Classes.

16         37.    Plaintiff will fairly and adequately protect the interests of the members
17   of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
18   class actions.
19         38.    A class action is superior to other available methods of fair and
20   efficient adjudication of this controversy, since individual litigation of the claims
21   of all Classes members is impracticable. Even if every Classes member could
22   afford individual litigation, the court system could not. It would be unduly
23   burdensome to the courts in which individual litigation of numerous issues would
24   proceed. Individualized litigation would also present the potential for varying,
25
     inconsistent, or contradictory judgments and would magnify the delay and expense
26
     to all parties and to the court system resulting from multiple trials of the same
27
     complex factual issues. By contrast, the conduct of this action as a class action
28
     presents fewer management difficulties, conserves the resources of the parties and

                                   CLASS ACTION COMPLAINT
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 1   of the court system, and protects the rights of each Class member.
 2         39.    The prosecution of separate actions by individual Classes members
 3   would create a risk of adjudications with respect to them that would, as a practical
 4   matter, be dispositive of the interests of the other Classes members not parties to
 5   such adjudications or that would substantially impair or impede the ability of such
 6
     non-party Classes members to protect their interests.
 7
           40.    Defendant has acted or refused to act in respects generally applicable
 8
     to The Classes, thereby making appropriate final and injunctive relief with regard
 9
     to the members of the Class as a whole.
10
                                       COUNT I:
11           VIOLATION OF ELECTRONIC FUNDS TRANSFER ACT
                         ON BEHALF OF THE EFTA CLASS
12
           41.    Plaintiff reincorporates by reference all of the preceding paragraphs.
13
14
           42.    Section 907(a) of the EFTA, 15 U.S.C. §1693e(a), provides that a

15   “preauthorized electronic fund transfer from a consumer’s account may be
16   authorized by the consumer only in writing, and a copy of such authorization shall
17   be provided to the consumer when made.”
18         43.    Section 903(9) of the EFTA, 15 U.S.C. § 1693a(9), provides that the
19   term “preauthorized electronic fund transfer” means “an electronic fund transfer
20   authorized in advance to recur at substantially regular intervals.”
21         44.    Section 205.l0(b) of Regulation E, 12 C.F.R. § 205.l0(b), provides that
22   “[p]reauthorized electronic fund transfers from a consumer’s account may be
23   authorized only by a writing signed or similarly authenticated by the consumer.
24   The person that obtains the authorization shall provide a copy to the consumer.”
25
           45.    Section 205.10(b) of the Federal Reserve Board's Official Staff
26
     Commentary to Regulation E, 12 C.F.R. § 205.l0(b), Supp. I, provides that “[t]he
27
     authorization process should evidence the consumer’s identity and assent to the
28



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 1    authorization.” Id. at ¶10(b), comment 5. The Official Staff Commentary further
 2    provides that “[a]n authorization is valid if it is readily identifiable as such and the
 3    terms of the preauthorized transfer are clear and readily understandable.” Id. at
 4    ¶10(b), comment 6.
 5          46.     In multiple instances, Defendants have debited Plaintiff’s and also the
 6
      putative Class members’ bank accounts on a recurring basis without obtaining a
 7
      written authorization signed or similarly authenticated for preauthorized electronic
 8
      fund transfers from Plaintiff’s and also the putative Class members’ accounts after
 9
      they had canceled their agreement to the withdrawals, thereby violating Section
10
      907(a) of the EFTA, 15 U.S.C. § 1693e(a), and Section 205.10(b) of Regulation E,
11
      12 C.F.R. § 205.l0(b).
12
            47.     In multiple instances, Defendants have debited Plaintiff’s and also the
13
14
      putative EFTA Class members’ bank accounts on a recurring basis without

15    providing a copy of a written authorization signed or similarly authenticated by

16    Plaintiff or the putative Class members for preauthorized electronic fund transfers,
17    thereby violating Section 907(a) of the EFTA, 15 U.S.C. § 1693e(a), and Section
18    205.10(b) of Regulation E, 12 C.F.R. § 205.l0(b).
19          48.     In multiple instances, Defendants conditioned the extension of credit
20    in the form of its contract with Plaintiff and the putative EFTA Class members on
21    requiring repayment through preauthorized electronic fund transfers thereby
22    violating 15 U.S.C. § 1693k(1).
23                                         COUNT II:
24                       VIOLATION OF CAL. CIV. C. § 1750
                  INDIVIDUALLY AND ON BEHALF OF THE CLRA CLASS
25
26
            49.     Plaintiff incorporate by reference each allegation set forth above
27
      herein.
28
            50.     Defendants’ actions as detailed above constitute a violation of the


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 1    Consumer Legal Remedies Act, Cal. Civ. Code §1770 to the extent that
 2    Defendants violated the following provisions of the CLRA:
 3
                  a. Representing that a transaction confers or involves rights, remedies,
 4
                     or obligations which it does not have or involve, or which are
 5                   prohibited by law; Cal. Civ. Code §1770(14); and
 6
                  b. Representing that the subject of a transaction has been supplied in
                     accordance with a previous representation when it has not. Cal. Civ.
 7                   Code §1770(16).
 8          51.      Plaintiff only seeks injunctive relief at this time on behalf of herself
 9    and the CLRA Class, but reserves the right to amend pursuant to Cal. Civ. C. §
10    1782(d).
11
12
                                           COUNT III:
           VIOLATION OF BUSINESS AND PROFESSIONS CODE § 17200
13
              INDIVIDUALLY AND ON BEHALF OF THE CLASSES
14
            52.      Plaintiff incorporates by reference all of the above paragraphs of this
15
      Complaint as though fully stated herein.
16
            53.      Actions for relief under the unfair competition law may be based on
17
      any business act or practice that is within the broad definition of the UCL. Such
18
      violations of the UCL occur as a result of unlawful, unfair or fraudulent business
19
      acts and practices.     A plaintiff is required to provide evidence of a causal
20
21
      connection between a defendant's business practices and the alleged harm--that is,

22    evidence that the defendant's conduct caused or was likely to cause substantial
23    injury. It is insufficient for a plaintiff to show merely that the defendant's conduct
24    created a risk of harm. Furthermore, the "act or practice" aspect of the statutory
25    definition of unfair competition covers any single act of misconduct, as well as
26    ongoing misconduct.
27                                            UNLAWFUL
28          54.      California Business and Professions Code Section 17200, et seq.


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 1    prohibits “any unlawful…business act or practice.”
 2          55.    As explained above, Defendants violated the Electronic Funds
 3    Transfer Act and Consumer Legal Remedies Act.
 4          56.    Defendants’ acts, as pled herein, are an “unlawful” business practice
 5    or act under Business and Professions Code Section 17200 et seq. for violating
 6
      EFTA and the CLRA.
 7
            57.    Defendants’ conduct caused and continues to cause economic harm
 8
      to Plaintiff and Classes Members.
 9
                                       TRIAL BY JURY
10
            58.Plaintiff requests a trial by jury as to all claims so triable.
11
                                   PRAYER FOR RELIEF
12
            WHEREFORE, Plaintiff, JENNIE FIELDS, individually, and on behalf of
13
14
      all others similarly situated, respectfully requests judgment be entered against

15    Defendants, for the following:

16                 a. That this action be certified as a class action on behalf of The
17                    Classes and Plaintiff be appointed as the representative of The
18                    Classes;
19                 b. Statutory damages of $1,000.00, per Class Member, pursuant to
20                    the Electronic Fund Transfer Act, §916(a)(2)(A);
21                 c. Actual damages;
22                 d. Restitution of the funds improperly obtained by Defendants;
23                 e. Any and all statutory enhanced damages;
24                 f. All reasonable and necessary attorneys’ fees and costs provided by
25
                      statute, common law or the Court’s inherent power;
26
                   g. For equitable and injunctive and pursuant to California Business
27
                      and Professions Code § 17203 and Cal. Civ. C. § 1782;
28
                   h. For prejudgment interest at the legal rate; and

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 1                i. Any other relief this Honorable Court deems appropriate.
 2
 3                Respectfully submitted this 3rd Day of November, 2020.
 4
                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 5
 6
                              By:   __________________
 7                                  Todd M. Friedman
 8                                  Law Offices of Todd M. Friedman
                                    Attorney for Plaintif
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